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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

UNITED STATES OF AMERICA                       :
                                               :
v.                                             :       CASE NO. 1:19-CR-253-TSE
                                               :
KRISTOPHER DALLMANN                            :
     Defendant.


                    DEFENDANT’S UNSEALED EXHIBITS FOR
                MOTION TO SUPPRESS STATEMENTS AND EVIDENCE

       COME NOW, Kristopher Dallmann, through counsel, respectfully submit the attached

unsealed exhibits for the Motion to Suppress Statements and Evidence filed on April 2, 2020.




                                                       Respectfully Submitted,
                                                       Kristopher Dallmann
                                                       By Counsel

                                                              /s/
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                                     CERTIFICATE OF SERVICE

           I hereby certify that on April 7, 2020, I will file the foregoing pleading with the Clerk of the

Court using the CM/ECF system, which will then send a notification of such filing (NEF) to all

parties.




                                                                 /s/
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